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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA




SUSAN M. FAUST, PH.D.,

                       Plaintiff,
                                                       Civil Case No. 2:24-cv-00406-JFM
            v.

THE TRUSTEES OF THE UNIVERSITY                         JURY TRIAL DEMANDED
OF PENNSYLVANIA and JAMES
WILSON, PH.D,
                Defendants.




                             [PROPOSED] PROTECTIVE ORDER
       The Court recognizes that documents and information that may be exchanged in discovery

and sought from third parties in this action may include trade secret or other confidential research,

development, or commercial information within the meaning of Rule 26(c)(1)(G) of the Federal

Rules of Civil Procedure. The Court finds that a protective order concerning such information is

necessary to protect the confidentiality and integrity of the information, to protect privacy interests,

and to prevent harm, including but not limited to financial and competitive harm, to the producing

person or any person who is the subject of the information disclosed. It is therefore hereby

ORDERED that:

I.     Definitions

       The following definitions shall apply to this Order:

       a.        The term “discovery material” means information of any kind provided in the

course of discovery in this action, including but not limited to paper or electronic documents or

portions of documents, graphic material, recordings, data, testimony, statements, transcripts of

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testimony or statements, or compilations or summaries derived therefrom, however produced or

reproduced.

       b.      The term “Confidential Information” means

[Defendants’ Proposal:1 any information, document, or thing, or portion of any document or

thing: (a) that contains trade secrets, competitively sensitive technical, marketing, financial, sales

or other confidential business information, (b) that contains private or confidential personal

information, (c) that contains information received in confidence from third parties, or (d) which

the producing party otherwise believes in good faith to be entitled to protection under Rule

26(c)(1)(G) of the Federal Rules of Civil Procedure.]

[Plaintiff’s Proposal:2 information produced in discovery: (a) that is non-public, proprietary,

commercially sensitive information, the disclosure of which is substantially likely to cause injury



1
   Defendants’ Position: Defendants’ proposed definition of “Confidential Information” is
reasonable and derived from protective orders approved by this Court. See Dominik Wallace v.
Amercareroyal, LLC, No. 2:24-cv-02054, Dkt. 11 (E.D. Pa. Aug. 22, 2024); Ronald Andrews v.
Unidine Lifestyles, LLC, No. 2:24-cv-02615, Dkt. 16 (E.D. Pa. Oct. 15, 2024). Plaintiff’s proposal
is unreasonable. Plaintiff’s proposed requirement that the producing party show that disclosure
would be substantially likely to cause injury to the producing party is unworkable because under
this definition, the Trustees of the University of Pennsylvania (the “University”) cannot protect
information that is obligated by agreement or otherwise kept confidential with third parties.
Further, it would be unduly burdensome to undertake an investigation into the likelihood of injury
before producing documents. Defendants also object to Plaintiff’s proposal to create a confidential
designation log with an explanation for why the information’s disclosure would inflict a clearly
defined and serious injury to the moving party. Given the large amount of discovery in this matter
(the bulk of which will come from the University), Plaintiff’s proposal is unnecessary, unduly
burdensome, and would significantly increase the cost and time associated with discovery in this
case with little to no benefit.
2
  Plaintiff’s Position: Defendants’ proposed definition of “Confidential Information” is
unreasonable. Subsection (a) is subjective and provides no objective standard to gauge what is
meant by “competitively sensitive” information. Subsection (b) is overly broad because nearly all
personal information is “private or confidential.” Subsection (c) is overly broad as all information
exchanged with third parties is done “in confidence.” Defendants have confirmed the over-breadth
of this definition, stating that they intend to designate as confidential, not only Defendants’
agreements with third-parties, but also “the communications related to the [third-party] agreements
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to the Producing Party or (b) which the producing party otherwise believes in good faith to be

entitled to protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure.]

       c.      The term “party” means all named parties in the above-captioned matter, including

any party added or joined in this action.

       d.      The term “third party” means any individual, corporation, other natural person or

entity, or any federal, state or local government agency that is not a “party.”

       e.      The term “producing person” means any natural person, business organization or

other entity producing documents in this action, or other information, such as testimony, including

any party or any third party.

       f.      The term “receiving party” means the party that received Confidential Information

from a producing person in this action.

       g.      The term “properly designated” means conspicuously stamped or watermarked on

the face of each page of the document in a manner that does not obscure any of the document’s

content, [Plaintiff’s Proposal:3 along with the specific Confidential Information designated



and the agreements themselves.” Motion at Ex. K, p. 3. This will result in confidential status for a
significant portion of the most-relevant discovery, thereby significantly complicating and
unnecessarily increasing the cost of litigation. And, that Defendants' agreements with third parties
contain confidentiality provisions do not justify confidential treatment of the entire agreement and
any related documents or communications. Further, Defendants’ proposed definition is also
unworkable as they demand that confidential information (and summaries thereof) be filed under
seal but refuse to agree to a definition of confidential information that satisfies the Court’s sealing
standard.
3
  Plaintiff’s Position: Plaintiff’s proposal allows Defendants to designate as confidential the
specific confidential information in a document, as opposed to the entire document itself. To the
extent that the “confidential information” is not relevant to Plaintiff’s claims or Defendants’
defenses, designating only the confidential information in a document will allow the parties to
simply redact such text in filings with the Court, in addition to alleviating Defendants’ concerns
about disclosure to potential witnesses or experts. Having to deal with all the requirements that
Defendants seek in this protective order, with entire documents designated as confidential, will
increase litigation costs and unnecessarily prejudice Plaintiff’s ability to pursue her claims.
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without obstructing any of the document’s content.] [Defendants’ Proposal: 4 This phrase should

not be included.]

II.    Provisions

       The following provisions shall apply in this action:

       1.      Each person that produces or discloses Confidential Information in the course of

discovery in this action may designate the information “Confidential.” Any person subject to this

Order that receives from any other person information that is so designated shall not disclose such

information to anyone else except as otherwise expressly permitted pursuant to this Order.

       2.      This Confidentiality Agreement shall not apply to information that is or becomes

part of the public domain, or which is already known by the Receiving Party through proper means,

or which becomes available to a Party from sources other than the Parties through the discovery

process.

       3.      Any person subject to this Order who receives from any other person information

that is designated “Confidential” shall not disclose such information to anyone other than the

persons listed in Paragraph II.9 of this Order.

       4.      [Designating material as Confidential]

[Defendants’ Proposal:5 Any producing person may designate discovery material as

“Confidential” by stamping or otherwise marking the designated portion of the materials



4
  Defendants’ Position: When a document is marked as Confidential, the producing party need
not identify what information within the document is Confidential. Plaintiff’s request creates
significant additional work to provide word-by-word designations. That is inefficient because
discovery is broad, but the vast majority of documents produced will not be used substantively in
this matter. Plaintiff’s provision will unnecessarily drive up costs for both parties with little
benefit.
5
 Defendants’ Position: As stated above, Plaintiff’s proposed provisions create inefficiencies and
are unduly burdensome. Given the large amount of discovery in this matter (the bulk of which will
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“Confidential,” as appropriate, in a manner that will not interfere with its content and consistent

with Paragraph II.1 above.]

[Plaintiff’s Proposal:6 Any producing person may designate the Confidential Information

contained within discovery material as “Confidential” by stamping or otherwise marking the

designated portion of the materials “Confidential,” as appropriate, in a manner that will not

interfere with its content and consistent with Paragraph II.1 above, and identifying the specific

Confidential Information within the discovery material. A producing party is only permitted to

designate the specific Confidential Information within a document as “Confidential,” and is not

permitted to designate an entire document as “Confidential” simply because portions of the

document contain Confidential Information. For example, if one party produces a 100-page

agreement and only a portion of the agreement contains Confidential Information, then the

producing party may only designate the portion of the agreement containing Confidential

Information. A party has no obligation to treat any document designated as “Confidential” in its

entirety as Confidential hereunder, unless the parties meet and confer and agree that the entire

document warrants Confidential treatment hereunder.




come from the University), Plaintiff’s proposal that the party requesting confidential treatment
mark what information in the document is confidential is unnecessary, unduly burdensome, and
would significantly increase the cost and time associated with discovery in this case with little to
no benefit. Plaintiff’s additional requirement that either the parties meet and confer over every
document designated as Confidential or the document loses its status as Confidential is
unreasonable and unduly burdensome.
6
  Plaintiff’s Position: As stated above, Plaintiff’s proposal creates efficiencies because, by
designating the specific information as confidential rather than the entire document, the parties
will not be required to follow the confidentiality procedures for non-confidential information
contained within a document that also contains confidential information.
                                                 5
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       5.      [Plaintiff’s Proposal:7 Mass, indiscriminate, or routinized designations are

prohibited. Designations based upon Confidentiality Agreements with third parties that do not

contain confidential information, as defined by paragraph I.(b) above, shall not be marked

confidential under this Discovery Confidentiality Agreement without an independent good faith

basis for the designation. If it comes to a Designating Party’s attention that information or items

that it designated for protection do not qualify for protection, that Designating Party must promptly

notify all other Parties that it is withdrawing the inapplicable designation.]         [Defendants’

Proposal:8 This paragraph should not be included.]

       6.      If at any time before the trial of this action a producing person realizes that some

portion(s) of discovery material that the person previously produced should be designated as

“Confidential,” that person may designate the material as such by notifying the parties in writing.

A party who disseminates or distributes discovery material prior to it being designated

“Confidential” will not be in breach of this Order. However, the disseminating or distributing

party will notify all persons, entities, or third parties that the newly-designated discovery material

was shared with and request that those persons, entities, and third parties destroy all originals or

copies of such discovery material unless allowed to receive such materials under this Order.

       7.      Any party may object to the designation of discovery material as “Confidential” by

serving written notice of each designation it is challenging and a short and plain statement

describing the basis for each challenge on the producing person and all other parties to this action.

The party objecting to the designation and the producing person shall confer in good faith within



7
   Plaintiff’s Position: This provision merely memorializes that mass designations are
inappropriate and incorrect designations should fixed. This should not be controversial.
8
  Defendants’ Position: This paragraph is unnecessary. Creating a duty to change designations
that are not challenged results in unnecessary expense and is unduly burdensome.
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seven days of the written notice and attempt to resolve the disagreement. If the objecting party

and the producing person are unable to resolve the disagreement within seven calendar days after

such notice is given, the objecting party may move the Court for an order with respect to the

proposed designation. The producing person will then have the burden of demonstrating the

designation is appropriate. The parties shall treat the disputed materials as “Confidential” while

the dispute is pending before the Court.

       8.      Any party receiving discovery material designated “Confidential” may not use the

information contained in such material, directly or indirectly, for any purpose except in the above-

captioned action.

       9.      No person subject to this Order, other than the producing person, shall give, show,

disclose, make available, or communicate any portion of discovery material designated as

“Confidential” to any other person, other than:

               a.      the parties to this action and, in the case of The Trustees of the University

   of Pennsylvania, any of their principals, executives or other employees who are participating

   in this action;

               b.      counsel retained to represent the parties to this action, including the

   partners, associates, paralegals, law clerk secretaries, clerical, regular and temporary

   employees, case assistant, information technology, litigation support person, or administrative

   support and vendors retained by or for the parties (including court reporters, members of a

   document review team, litigation support personnel, jury consultants, individuals to prepare

   demonstrative and audiovisual aids for use in the courtroom or in depositions or mock jury

   sessions, as well as their staff, stenographic, clerical employees whose duties and




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    responsibilities require access to such materials, electronic discovery vendors and outside

    copying and litigation support services) who are assisting with the Action;

               c.      the author, addressee, or any other person indicated on the face of a

    document or accompanying cover letter, email, or other communication to be the author,

    addressee, or an actual recipient of the document, including as a blind copied recipient, or any

    person indicated as the custodian of the document/communication in corresponding metadata

    or as confirmed by the Producing Party, or, in the case of meeting minutes or presentations, an

    attendee of the meeting;

               d.      [Procedures for disclosing Confidential Information to Experts or

    Consultants]

    [Defendants’ Proposal:9 any person retained by a party to serve as an expert witness or

    consultant in connection with this action, provided that such person has reviewed this Order

    and signed the Acknowledgement & Agreement attached as Exhibit A, and the party identifies

    such expert witness or consultant to all other parties’ counsel by e-mail no later than seven (7)

    business days before disclosing such materials to such persons and no objection has been made

    by the other party. Such identification shall include: (1) the expert witness or consultant’s full

    name and address; (2) the expert witness or consultant’s current employer(s) and title(s); (3)

    the expert witness or consultant’s curriculum vitae; (4) a listing of cases (by name and number




9
  Defendants’ Position: The purpose of this requirement is to prevent either party from sharing
Confidential Information with someone who may have a business conflict (e.g., work full time at
a competitor of the University’s business partners that would gain a commercial advantage from
learning what technology the business partners have licensed from the University and under what
financial terms) or may not have a legitimate need to see the Confidential Information. Plaintiff’s
counsel objects to this proposal on the grounds that it would require Plaintiff to receive permission
from Defendants to retain experts or consultants as witnesses. This is not the purpose, and
Defendants will not unreasonably withhold consent.
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     of the case, filing date, and location of the court) in which the expert witness or consultant has

     provided expert testimony over the last four years, including expert testimony provided via a

     declaration, report, or testimony at deposition or trial; and (5) an identification of all companies

     with which the expert witness or consultant has consulted or been employed by, from whom

     the expert witness or consultant has received any compensation or funding for work in his or

     her areas of expertise, or to whom the expert witness or consultant has provided professional

     services within the last four years, including the applicable years and a brief description of the

     work performed. A party may object to the disclosure of Confidential Information to a

     proposed expert witness or consultant within seven (7) business days of the identification. Any

     objection must set forth the ground(s) of the objection with particularity. In the event that a

     dispute arises regarding disclosure to an expert witness or consultant, the parties agree to meet

     and confer regarding such objection and/or request. If the parties are unable to resolve such

     dispute, the party who objects to the disclosure to the expert witness or consultant shall seek

     appropriate relief from the Court within seven (7) business days after reaching an impasse.

     Pending resolution of the dispute, no disclosure shall be made to the expert witness or

     consultant. If no application is made by the objecting party within seven (7) business days after

     reaching an impasse, then disclosure may be made to the expert witness or consultant.]

     [Plaintiff’s Proposal:10 any person retained by a party to serve as an expert or consultant in

     connection with this action, and the partners, associates, paralegals, secretaries, clerical,



10
   Plaintiff’s Position: Defendants’ proposal is unreasonable. First, Plaintiff is not required to
request Defendants’ permission to show a retained consultant or expert confidential information.
Second, notifying Defendants of the identity of a retained consultant or expert would give away
Plaintiff’s litigation strategy, prejudicing her ability to prosecute her claims. Third, the
requirements to “identify” an expert or consultant and conduct a meet-and-confer are unduly
burdensome and will increase the cost of litigation. Fourth, Defendants have no authority to
determine which consultants or experts “may not have a legitimate need to see the Confidential
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     regular and temporary employees, and service vendors of such experts or consultants directly

     involved in the prosecution or defense of this Action provided that such person has reviewed

     this Confidentiality Agreement and signed the Acknowledgement & Agreement attached as

     Exhibit A;

                  e. persons who are retained to provide purely administrative assistance to any party

     or its counsel for the purposes of this action, including litigation support services and outside

     copying services, provided such person has reviewed this and signed the Acknowledgement &

     Agreement attached as Exhibit A;

                  f.     stenographers engaged to transcribe depositions conducted in this action;

                  g.     the Court and its support personnel, including court reporters, court

     videographers, and their staff;

                  h.     any other person authorized to receive the disclosure by written stipulation

     of, or statement on the record by, the producing person or by order of this Court.

                  i.     [Disclosure of Confidential Information to employees/former employees]

[Plaintiff’s Proposal:11      Any deponent may be shown or examined on any Confidential

Information designated as Confidential if it appears that the witness authored or received a copy




Information.” Lastly, Defendants have not even articulated what information might be produced
which could result in a “business conflict,” further rendering this provision unnecessary.
11
  Plaintiff’s Position: Defendants’ objection to this provision is unfounded and only seeks to limit
Plaintiff’s ability to litigate this case. Plaintiff has no reason to request a former/current employee
sign the attached confidentiality agreement and then show them confidential information for “no
reason,” as this information would only be shared if there was good faith basis to believe that the
employee can provide some insight or relevant information related to the confidential information.
Further, current and former employees could have discoverable information related to confidential
information, even if they did not author or receive a copy during their employment.
                                                   10
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of it, was involved in the subject matter described therein, or is employed or was previously

employed by the Party who produced the information, document or thing.]

[Defendants’ Proposal:12 Defendants object to the inclusion of this sentence.]

               j.      [Disclosure of Confidential Information to witnesses/potential witnesses]

[Plaintiff’s Proposal:13 Any witnesses or potential witnesses, and attorneys for witnesses, and any

person as to which there is a good faith basis to believe that they may be a witness at a deposition

or hearing in this Action, to whom disclosure is reasonably necessary provided that the deposing

party requests that the witness sign the form attached as Exhibit A.]

[Defendants’ Proposal:14 Defendants object to the inclusion of this sentence.]




12
   Defendants’ Position: Defendants object to the inclusion of this proposal because it gives
Plaintiff free rein in showing Confidential Information to most individuals involved in the case.
There is no reason to show Confidential Information to a previous University employee who has
not authored or received a copy of a document in the course of his or her employment. Nor should
a current University employee see, for example, University financial and licensing terms if that
employee has not authored or received a copy of the document in the course of his or her
employment.
13
  Plaintiff’s Position: Again, there is no basis to Defendants’ suggestion that Plaintiff intends to
show confidential information to “anyone” without a good faith basis to believe that disclosure is
“reasonably necessary.” Further, the signed confidentiality agreement provides Defendants the
assurance they seek. Lastly, Plaintiff will be significantly prejudiced if she cannot show witnesses
confidential information. Defendants object in full to paragraphs 9(i), (j), (k), meaning, under
Defendants’ proposal, the persons identified in 9(c) (i.e. individuals who received the information
previously) are the only fact witnesses permitted to review “confidential information.” This is an
unreasonable limitation on Plaintiff’s ability to pursue this litigation.
14
   Defendants’ Position: Again, Defendants object to the inclusion of this proposal because it
gives Plaintiff free rein in showing Confidential Information to anyone involved in the case. As
described and excerpted in Defendants’ Memorandum of Law in Support of its Motion for Entry
of a Protective Order (Dkt. 51-1 at 12), Plaintiff has identified 81 people on her initial disclosures
that span an entire industry and could be, according to Plaintiff, potential witnesses.


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          k. [Plaintiff’s Proposal:15 Persons giving testimony in this litigation and their counsel. A

deponent during the deposition may be shown, and examined about, stamped confidential

documents. Deponents shall not retain or copy portions of the transcript of their depositions that

contain confidential information, or documents not provided by them or the entities they represent,

unless they sign or verbally agree on the deposition record to the conditions prescribed in this

Order. A deponent who is not a party or a representative of a party shall be furnished a copy of this

Discovery Confidentiality Agreement before his or her deposition.]

[Defendants’ Proposal:16 Defendants object to the inclusion of this sentence.]

      m. Any mediator or settlement officer, and their supporting personnel, mutually agreed upon

by any of the Parties engaged in the settlement discussions.

          10.     No discovery material designated “Confidential” may be disclosed to any person

pursuant to Paragraph II.9 of this Order unless counsel first informs such person that, pursuant to

this Order, the material to be disclosed may only be used for purposes of this action and must be

kept confidential, and obtains any signed forms required under subparagraphs II.9(d), 9(e), or 9(j).

Counsel shall retain all signed Acknowledgement & Agreements pursuant to this paragraph

[Defendants’ Proposal:17 and produce them to opposing counsel upon request.] [Plaintiff’s




15
     Plaintiff’s Position: See Plaintiff’s Position set forth in footnotes 11 and 13.
16
   Defendants’ Position: Again, Defendants object to the inclusion of this proposal because it
gives Plaintiff free rein in showing Confidential Information to anyone involved in the case. As
described and excerpted in Defendants’ Memorandum of Law in Support of its Motion for Entry
of a Protective Order (Dkt. 51-1 at 12), Plaintiff has identified 81 people on her initial disclosures
that span an entire industry and could be, according to Plaintiff, potential witnesses.
17
   Defendants’ Position: Counsel should be able to know who has seen Confidential Information
in this case and who has signed on to the Protective Order.
                                                    12
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Proposal:18 Opposing counsel may request signed Acknowledgement & Agreements for specific

persons identified by opposing counsel that opposing counsel knows have been provided

Confidential Information and produce them to opposing counsel upon request.]

       11.     With respect to deposition transcripts and exhibits, a party or producing person

may, within fourteen (14) days after receiving a deposition transcript, designate pages of the

transcript (and exhibits thereto) as “Confidential.” The Parties shall exercise their best efforts to

designate specific page and line references subject to such protection and shall not designate entire

depositions as Confidential. Confidential Information within the deposition transcript may be so

designated by highlighting the portions of the pages that are confidential and marking such pages

with the legend specified in paragraph 2 of this Order. All deposition transcripts shall be treated as

“Confidential” until fourteen (14) days after all parties receive copies of them.

       12.     Procedures related to the use of Confidential Information in documents filed with

the Court in this action.

[Defendants’ Proposal:19 If any receiving party wishes to use Confidential Information

designated by a producing person in any affidavits, briefs, memoranda, summaries, exhibits,



18
   Plaintiff’s Position: Again, Defendants are not entitled to receive the identity of every person
who Plaintiff shares the confidential information with. Defendants learning of every person who
receives such information in no way creates any further protection for that information. Disclosure
of individuals who received confidential information likely would reveal Plaintiff’s litigation
strategy, thereby prejudicing Plaintiff’s ability to litigate this matter.
19
   Defendants’ Position: Defendants’ proposed procedures are reasonable to safeguard and protect
confidential information via redactions and sealing procedures while placing the burden on the
receiving party to articulate to the Court the reason for the sealing request. Further, Defendants’
proposal is aligned with Rule 8 of this Court’s Policies and Procedures, which states: “Before
attempting to file documents under seal, parties should carefully consider whether the purportedly
confidential information could simply be omitted, redacted, or made available upon request
because it is of little or no relevance.” Plaintiff’s proposal does not require the parties to meet and
confer before filing materials under seal.


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motions or other papers filed in this action, the receiving party shall take the following steps to

safeguard the confidentiality of the information.

                a.      At least seven (7) business days before having a good faith intent to use the

Confidential Information in any affidavits, briefs, memoranda, summaries, exhibits, motions or

other papers filed in this action, the receiving party shall notify the producing person of the

receiving party’s good faith intent, the date that the receiving party intends to file, and the receiving

party shall identify the specific Confidential Information (by, for example, bates number or by

transcript page) the receiving party intends to file. If the document has more than five (5) pages,

the receiving party must identify the specific pages within the document that will be included in

the filing and will not identify unnecessary pages. The receiving party may not identify more than

ten (10) pages from a document nor more than ten (10) documents without further identifying a

good-cause basis for the need to file so many pages and documents on the docket.20

                b.      The producing person shall respond to the receiving party within four (4)

business days of receiving the notification in II.11.a.

                        i.      The producing person may respond by de-designating the

Confidential Information or offering proposed redactions that can be filed on the public docket.

                        ii.     If, however, the producing person maintains the Confidential

designation(s), or the receiving party does not accept the proposed redactions in II.11.b.i, the



20
   Defendants’ Position: Defendants note this requirement is necessary in particular because
Plaintiff’s counsel as already requested that the University provide a redacted version of first the
entire production from the previous protective order and then more specifically of the 189-page
Biogen Agreement (produced under the prior protective order) solely for Plaintiff’s counsel
“consideration” as to whether the redactions are warranted, without any explanation as to why
such laborious redactions are necessary or why Plaintiff needs to attach the agreement at all to file
an opposition to a motion for a protective order. The University is concerned that in offering a
compromise approach to filing, Plaintiff will abuse the process and will request redactions on large
documents or large numbers of documents solely to drive up costs.
                                                   14
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producing person shall provide to the receiving party a written articulation as to why the material

should be filed under seal consistent with applicable precedent. The receiving party shall then

follow the Court’s procedures to file under seal using the written articulation provided by the

producing person as the justification for the motion.

                       iii.    Within twenty-eight (28) days of the filing under seal (or as

otherwise ordered or required by the Court’s procedures), the producing person shall provide

thoughtfully and narrowly redacted public versions of the same documents filed under seal to the

receiving party so that the receiving party may file those redacted versions consistent with the

Court’s procedures.

             c.        The parties agree to meet-and-confer and work cooperatively to limit the

burden of the receiving party to file documents under seal and to avoid any situation where the

receiving party is prevented from presenting evidence to the Court due to the procedures in this

Order.]

[Plaintiff’s Proposal:21 A receiving party is permitted to use any discovery material in any

affidavits, briefs, memoranda, summaries, exhibits, motions, or other papers filed in this action



21
   Plaintiff’s Position: Plaintiff’s proposed provision strikes a balance with Defendants’ provision
by including the meet and confer process but making it optional. Requiring a meet-and-confer
seven days prior to filing would preclude the filing of confidential information identified less than
seven days before a filing is due. There is also no basis for Defendants’ request that parties be
limited to ten pages/ten documents. Requiring Plaintiff to make a showing of “good cause” prior
to filing more than ten pages from a document or more than ten documents will delay adjudication
of this matter, increase litigation costs, and serves no purpose other than burdening and prejudicing
Plaintiff, as the confidential information within those documents would already be protected.
Moreover, Plaintiff includes a provision that the designating party will provide the other party with
a written explanation for why the confidential information satisfies the seal requirements, as the
receiving party cannot be expected to articulate this in the motion to seal. And to prevent prejudice
if the motion to seal is denied, this provision allows the filing party to file publicly. Lastly,
Defendants’ repeated claim that Plaintiff is attempting to increase costs in litigation is baseless and
is likely an attempt to divert attention away from its own conduct in discovery thus far to increase
litigation costs to Plaintiff as well as the fact that both Defendants have substantially more
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without notice or consent by the producing person, or any other person, provided that the receiving

party take steps to preserve the specifically identified Confidential Information contained therein.

While the receiving party is under no obligation to confer with the disclosing party prior to using

any Confidential Information in papers filed in this action, the receiving party may notify the

disclosing person at least seven days prior to including the Confidential Information in a filing in

this action to notify them of their intent to include Confidential Information in a filing in this

action. If the receiving party notifies the producing person of its intent to include Confidential

Information in papers filed in this action, the producing person shall, within four days of receiving

such notice, either de-designate the Confidential Information to allow it to be filed on the public

docket or meet and confer with the receiving party on the issue of whether to de-designate. If the

producing party fails to either de-designate or meet and confer within the four days after it received

notice, the Confidential Information will lose its Confidential designation and treatment under this

Agreement. If the producing person will not de-designate and the receiving party is required to file

the papers in this action under seal, then within twenty-eight (28) days of the filing under seal (or

as otherwise ordered or required by the Court’s procedures), the producing person shall provide

thoughtfully and narrowly redacted public versions of the same documents filed under seal to the

receiving party so that the receiving party may file those redacted versions consistent with the

Court’s procedures. Additionally, if the designating party refuses to de-designate following the

meet and confer, it shall provide the other party, within four days of the meet and confer, a written

explanation for why the Confidential Information satisfies the Court’s standard for sealing. If the




resources than Plaintiff, a law firm employee who repeatedly attempted to resolve this matter prior
to litigation. Defendants claim that they are concerned about Plaintiff attempting to drive up
litigation costs is further undermined by the fact that, under Plaintiff’s proposal, the receiving party
will perform the redactions.
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Court denies the receiving party’s motion to seal Confidential Information, then this Order does

not apply to such Confidential Information and the receiving party may proceed to file on the

public docket.]

       13.        The procedures for using Confidential Information during any hearing or trial shall

be determined by the Court in advance of the hearing or trial. A receiving party that desires to use

Confidential Information during any hearing or trial shall notify the producing person and the

Court well ahead of using it so the Court may determine the procedures. In the event that an

advance determination is not possible because the need for such information during the hearing or

trial is unanticipated, the receiving party seeking to introduce the information shall raise the

confidentiality issue prior to introducing it by requesting a sidebar or other appropriate mechanism.

       14.        Within sixty days after the final resolution of this litigation, including any appeals,

all copies of discovery materials designated as containing Confidential Information, and any notes,

memoranda or summaries created therefrom, shall be returned to the producing person or

irreversibly destroyed, except that Counsel of record may keep a copy of the case file. Counsel of

record shall provide written certification of compliance with the provisions of this paragraph upon

the request of any producing person. Notwithstanding the provisions of this paragraph, the parties,

their counsel, and others authorized to receive discovery materials protected under this Order shall

not be required to delete electronic information that may reside in electronic archives or disaster

recovery systems, but they shall not access such materials from those systems after the conclusion

of the sixty-day period.

       15.        Each person who has access to discovery materials that have been designated as

“Confidential” shall take reasonable precautions to prevent unauthorized access to, or inadvertent




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disclosure of, such materials. [Defendants’ Proposal:22 Such precautions shall include

administrative, physical and technical safeguards, including the following components:

               a.      Electronically-stored Confidential Information shall be password-protected

       and stored in an encrypted manner.

               b.      Confidential Information, whether electronic or hard copy, shall be stored

       in a secured and locked area.

               c.      Access to Confidential Information shall be limited to those personnel with

       a genuine need related to this action for access to the Confidential Information.

               d.      No person, nor any member of the person’s workforce, shall place

       Confidential Information on computers or portable computing/storage devices which are

       not owned by the person.

               e.      Confidential Information must be irreversibly deleted from any electronic

       device or electronic media prior to making such electronic device or electronic media

       available for reuse.]




22
  Defendants’ Position: These safeguards ensure that the Confidential Information is protected.
Plaintiff specifically objects to the requirement that she use an encryption software, but that is an
industry standard safeguard available through any reputable eDiscovery vendor, including
Relativity. See, e.g., https://www.relativity.com/calder7-security/product-security/ (“By default,
Relativity encrypts data at rest and in transit.”). Plaintiff claims she and her counsel would have to
purchase encryption software, but it is unlikely her counsel’s law firm does not already have such
software. Plaintiff also does not state how much that software would cost. A simple Google search
reveals encryption software available for as little as $40, with more sophisticated options in the
hundreds of dollars that may suit her needs. That is not unduly burdensome. Finally, it appears
Plaintiff also objects because she intends to store and review Confidential Information on her
personal computer, and if she wants to do that, she should take additional precautions, including
encryption.

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       [Plaintiffs’ Proposal:23 Plaintiff objects to the inclusion of all but the first sentence of

paragraph 15]

       16.      A party must notify the producing person and all other parties of any actual or

suspected confidentiality breach or use or disclosure of Confidential Information that violates this

Protective Order (“Potential Breach”) within five (5) days after such Potential Breach is discovered

and provide sufficient detail regarding the nature of the breach or use or disclosure for the

producing party to understand the risk. The party must make immediate reasonable efforts to

remedy any Potential Breach.

       17.      If at any time a person bound by this Order receives a subpoena, civil investigative

demand, or other process from a third party seeking or requiring disclosure of information

designated as “Confidential” under the terms of this Order, such person shall notify the producing

person and all other parties promptly so that the producing person and any other interested party

may object to the disclosure or seek other appropriate relief.

       18.      Nothing in this Order is intended to limit any privileges or protections that

otherwise may apply to any [Plaintiff’s Proposal:24 Confidential Information within]




23
  Plaintiff’s Position: Plaintiff’s counsel will store confidential information securely in the same
manner as in other cases and will instruct Plaintiff to do the same. Defendants’ proposal creates an
undue burden and increases litigation costs by imposing requirements such as, among others,
storing documents in an “encrypted manner,” which would require Plaintiff and Plaintiff’s counsel
to purchase encryption software to review documents outside of the e-discovery vendor’s platform.
24
   Plaintiff’s Position: See Plaintiff’s Position at footnotes 3 and 6. In addition, due to the parties’
dispute regarding whether confidential treatment should be applied to the entire document or only
the confidential information contained therein, there are numerous provisions in this agreement
that would require minor editing should Defendants agree to Plaintiff’s proposal. Plaintiff’s
counsel has not identified herein each instance where such an edit would be required but discussed
this with Defense counsel, who did not object.


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[Defendants’ Proposal:25 this phrase should not be included] discovery materials designated as

“Confidential,” or to waive any other objection a party may have to producing materials sought in

discovery. This Order is being entered without prejudice to the right of any Party to move the

Court for modification or for relief from any of its terms. This Order does not compel the

production of any document or information a party may seek in discovery. Should a party require

additional protective measures for any discovery materials beyond those contemplated within this

Order, that party may move for a protective order from the Court.

       19.     Nothing in this Order shall limit the United States’ ability to receive all pleadings,

motions and, upon request, deposition transcripts and exhibits, pursuant to 31 U.S.C. § 3730(c)(3).

Disclosure of such materials to the United States shall not be deemed a breach of this Order.

       20.     The provisions of this Order shall not apply to any information that: (a) is already

public knowledge or in the public domain at the time of the disclosure; (b) becomes public

knowledge or enters the public domain absent a violation of this Order; or (c) which is already

known by the Receiving Party through proper means; (d) which becomes available to a Party from

sources other than through the discovery process; or (e) is or becomes available to a Party from a

source rightfully in possession of such information on a non-confidential basis.

       21.     The provisions of this Order shall survive the conclusion of this action. This Court

shall retain jurisdiction over all persons subject to this Order to the extent necessary to enforce any

of its provisions or requirements.

       22.     This Order may be amended by agreement of the parties or for good cause shown.




25
   Defendants’ Position: Plaintiff proposes this phrase because Plaintiff wants all Confidential
Information within documents identified on a word-by-word basis, whereas under Defendants’
proposal documents can be marked Confidential in their entirety. Defendants do object to any
requirement of identification of Confidential Information within each document produced.
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       23.     This Court retains the right to allow disclosure of any subject covered by this Order

or to modify this Order at any time in the interest of justice.


                                                    SO ORDERED:

                                                    _______________________________
                                                    THE HONORABLE JOHN F. MURPHY
                                                    UNITED STATES DISTRICT JUDGE




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                                               EXHIBIT A

                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA




SUSAN M. FAUST, PH.D.,

                          Plaintiff,
                                                       Civil Case No. 2:24-cv-00406-JFM
            v.

THE TRUSTEES OF THE UNIVERSITY                         JURY TRIAL DEMANDED
OF PENNSYLVANIA and JAMES
WILSON, PH.D,
                Defendants.




                             ACKNOWLEDGMENT & AGREEMENT

          By signing this document, the person signing acknowledges and agrees that he or she has

reviewed and agrees to be bound by the Protective Order in this above-referenced matter, including

the person’s agreement that all materials properly marked as “Confidential” will be kept strictly

confidential and shared with no one except as provided in the Protective Order.

          It is agreed that [Plaintiff’s Proposal:26         Confidential Information] [Defendants’

Proposal:27 all materials] properly marked as “Confidential” will be stored in a manner that

ensures no other person is able to access the information. Any reports, compilation, summaries or



26
     Plaintiff’s Position: See Plaintiff’s Position at footnotes 3, 6. 24.
27
  Defendants’ Position: Again, materials can be marked as Confidential, not just information
within the materials. This relates to the parties’ dispute about whether documents with
Confidential information must be marked word-by-word or whether they can be marked
Confidential in their entirety. Such word-by-word designations are unduly burdensome.
                                                    22
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notes made or generated based on materials marked as “Confidential” will be subject to the same

confidentiality and non-disclosure obligations as the information itself, including those obligations

contained in the Protective Order.

       It is agreed that any breach of this agreement will be reported immediately to the attorney

from whom such materials were received and take immediate steps to remedy such breach.

       It is agreed that information marked as “Confidential” will be used for no other purpose

outside providing services in the above styled legal matter and only in a manner consistent with

the terms of the Protective Order; and that all such information marked “Confidential” information

will be returned to the producing person or alternatively, deleted or destroyed within 60 days of

the conclusion of the above referenced case.



Agreed on: Date




Print Name                                                    Signature




                                                 23
